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The following constitutes the ruling of the court and has the force and effect therein described.



Signed September 19, 2018
                                            United States Bankruptcy Judge
______________________________________________________________________

                                 IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                           LUBBOCK DIVISION

     IN RE:                                                      §
                                                                 §
     REAGOR-DYKES MOTORS, LP, et al.1                            § Case No. 18-50214-rlj-11
                                                                 § Jointly Administered
                                       Debtor.                   §

                   ORDER AUTHORIZING DEBTORS TO EMPLOY AND RETAIN
                     ELM TREE ADVISORS V LLC AS INVESTMENT BANKER

              Came on to be heard the Debtors’ Application for Authority to Employ Elm Tree Advisors V LLC

     as Investment Banker (“Elm Tree Advisors”) [Docket No. 256] (the “Application”), and the Court

     having considered the Application and the Affidavit submitted therewith; and having determined that

     the employment of Elm Tree Advisors is in the best interests of the Debtors, their estates, their

     creditors and other parties-in-interest; and it appearing that notice of the Application was good and

     sufficient under the particular circumstances and that no further notice need be given; and upon the

     record herein; and after due deliberation thereon; and good and sufficient cause appearing therefore, it

     is hereby

              ORDERED that:

              1.      The Application is, in all respects, GRANTED; and



     1
      The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-
     Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), and Reagor-Dykes
     Floydada, LP (Case No. 18-50219).
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       2.      The Court shall retain jurisdiction over any matter or dispute arising from or relating

to the implementation of this Order.

                                 # # # END OF ORDER # # #



SUBMITTED BY:

/s/ Marcus A. Helt
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PROPOSED COUNSEL TO DEBTORS
REAGOR-DYKES MOTORS, LP et al.




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